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                                   STATEMENT OF FACTS

        Your affiant, Jeffrey Weeks, is employed as a Special Agent by the Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the Washington Field Office, where I am
currently tasked with investigating criminal activity in and around the Capitol grounds. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, DC. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        On January 7, 2021, the FBI received several tips from the public (tipsters) that PATRICK
MONTGOMERY of Littleton, Colorado, was seen in photographs posted on Facebook inside the
Capitol building Senate Chambers on January 6, 2021. The persons providing the tips also
indicated that MONTGOMERY had posted photographs from inside the Senate Chamber on that
same day.

       A tipster, who will be referred to as T-1, identified MONTGOMERY as the man circled in
a photograph below, wherein he appears to be standing inside the Senate Chambers:




MONTGOMERY appears to be part of the crowd that entered the Senate Chambers on January 6,
2021, and, as explained below, MONTGOMERY is wearing the same clothes as he was wearing
outside the Capitol building on January 6, 2021. Your Affiant spoke with T-1 on January 12, 2021.
T-1 told your Affiant that IT is a Facebook friend of MONTGOMERY and that IT knew
MONTGOMERY because they worked together as river guides for three years.

      Another tipster, who will be referred to as T-2, provided a post from MONTGOMERY’S
Facebook page, wherein a member of the public posted on Facebook the photograph above and a
commented to MONTGOMERY asking, “Is this you? I saw it on another page and it looked like
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you.” T-1 responded, “I have saved this photo and will be indetifying [sic] you to authorities,” to
which MONTGOMERY replied, “Got nothing to hide…”




        Following this post, MONTGOMERY corresponded with T-1 by email on January 7, 2021.
T-1 provided the email exchange to your Affiant. MONTGOMERY’S email address contains the
name of MONTGOMERY’S hunting company, Pmonte Outdoors: pmonte3006@[redacted]. In
response to T-1 stating, “You have been reported to the police in DC as well as the FBI,”
MONTGOMERY responded, “I’m not a scared cat or running from anything. . . . Im [sic] so
deeply covered by the best Federal Defense lawyers in the country in case you chicken shit cry
boys don’t want it takes to defend our freedom from these corrupt politicians.” MONTGOMERY
went on to explain, “I didn’t storm the castle violently. My group was let in peacefully by the
police we were talking to with respect. We came a[n]d left peacefully before the anarchist and
Antifa showed up breaking shit and being hoodlums.”
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        Your Affiant further confirmed this identification of MONTGOMERY. First, your Affiant
viewed pictures posted to the Facebook account for MONTGOMERY. A third tipster, who will
be referred to as T-3, stated that she went to high school with MONTGOMERY, and that
MONTGOMERY operates PMonte Outdoors in Littleton, Colorado, and he posted the following
to his Facebook page entitled, “Patrick Montgomery”:




In this post from January 5, 2021, MONTGOMERY states that he is “Heading to Washington DC
to check it out for myself. Figuring out what we do next moving forward. I promise this, it will
take courageous Americans doing shit!”

       Your Affiant also retrieved a driver’s license photograph of MONTGOMERY and
confirmed that the person depicted in MONTGOMERY’S driver’s license photograph bears a
strong resemblance to the individual depicted in MONTGOMERY’S Facebook profile and the
individual who appears circled in the photograph taken inside the Senate Chamber:
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                            [PROFILE PHOTOGRAPH]




                         [DRIVER’S LICENSE PHOTOGRAPH]

        Moreover, on January 6, 2021, according to an anonymous tipster, MONTGOMERY
posted the following photograph to his Facebook page:
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T-1 also provided the following posts from MONTGOMERY’S Facebook page:
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These photos appear to depict the crowd near the Capitol on January 6, 2021, skirmishes with the
police at the exterior entrance area of the Capitol, a crowd with the Capitol Dome behind them,
the Washington Monument, which is located on the National Mall along the route taken by the
group to get to the Capitol, and other landmarks along that same path.

       According to T-1, MONTGOMERY also posted on his Facebook page a picture of the
Senate Chamber and in the caption brags, “We stormed the Senate…opened those Chamber door
for Transparency!”




       Later on Facebook, an individual posted on Facebook and warned MONTGOMERY,
“Yeah, don’t get into trouble man,” to which MONTGOMERY replied, “[Y]ou guys got to quit
being scared to get in trouble! The USA is in trouble! I’ll go down fighting before I’m scared
anymore of getting in trouble.”
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       On January 7, 2021, T-1 informed the FBI that MONTGOMERY deleted his Facebook
and Instagram accounts.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
PATRICK MONTGOMERY violated 18 U.S.C. § 1752(a)(1), which makes it a crime to
knowingly enter or remain in any restricted building or grounds without lawful authority to do; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

      Your affiant submits there is also probable cause to believe that MONTGOMERY violated
40 U.S.C. § 5104(e)(2)(G), which makes it a crime to willfully and knowingly (G) parade,
demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     JEFFREY WEEKS
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of January 2021.                                     Robin M. Meriweather
                                                                         2021.01.13 13:12:04
                                                                         -05'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
